      Case 4:07-cr-00232-BRW           Document 103        Filed 03/15/11     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                          NO. 4:07CR00232 GTE

FELIPE VALDEZ GARCIA, SR.

                                   ORDER OF DISMISSAL


       Pending before the Court is the Motion to Dismiss the Indictment filed by the

Government as to Defendant Felipe Valdez Garcia, Sr. For good cause shown the Motion should

be granted.

        IT IS THEREFORE ORDERED that the indictment in 4:07CR00232-01GTE pending

against the Defendant Felipe Valdez Garcia, Sr., be, and it is hereby, dismissed without

prejudice. It is FURTHER ORDERED that any active warrants for his arrest in this case be

quashed and returned unexecuted.

       Dated this 15th day of March, 2011.



                                             ___/s/ Garnett Thomas Eisele_________
                                             UNITED STATES DISTRICT JUDGE
